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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                       :
IN RE TERRORIST ATTACKS ON             :    1:03-md-01570 (GBD)(SN)
SEPTEMBER 11, 2001                     :
                                       :
____________________________________
                                       :
JOEL PERRY, as Personal Representative :
of the ESTATE OF JAMES LESLIE          :    CIVIL CASE NO. ___________
PERRY, DECEASED, a surviving Parent :
of John William Perry                  :    SUDAN SHORT FORM COMPLAINT
                                       :    AND DEMAND FOR TRIAL BY JURY
CARL STALLWORTH, a surviving           :
Sibling of Marsha Ratchford, Deceased  :    ECF CASE
                                       :
ROOSEVELT STALLWORTH, a                :
surviving Sibling of Marsha Ratchford, :
Deceased                               :
                                       :
CHRISTIAN B. STALLWORTH                :
f/k/a BRIAN CHRISTIAN, a surviving     :
Sibling of Marsha Ratchford, Deceased  :
                                       :
AMANDA ROGERS, a surviving Sibling :
of Marsha Ratchford, Deceased          :
                                       :
ADAM REISS, a surviving Sibling of     :
Joshua Scott Reiss, Deceased           :
                                       :
GARY REISS, a surviving Parent of      :
Joshua Scott Reiss, Deceased           :
                                       :
JENNIFER REISS, a surviving Sibling    :
of Joshua Scott Reiss, Deceased        :
                                       :
JONATHAN REISS, a surviving Sibling :
of Joshua Scott Reiss, Deceased        :
                                       :
JORDAN REISS, a surviving Sibling of :
Joshua Scott Reiss, Deceased           :
                                       :
CHELSEA NICOLE RODAK, a                :
surviving Child of John M. Rodak,      :
Deceased                               :
                                       :
DEVON MARIE RODAK, a surviving         :
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Child of John M. Rodak, Deceased           :
                                           :
DIANA DIAZ, as Personal Representative :
of the ESTATE OF CARMEN                    :
ROMERO, DECEASED, a surviving              :
Parent of Elvin Romero, Deceased           :
                                           :
DIANA DIAZ, as Personal Representative :
of the ESTATE OF ISSAC ROMERO, a :
surviving Parent of Elvin Romero, Deceased :
                                           :
DIANA DIAZ, a surviving Sibling of         :
Elvin Romero, Deceased                     :                             :
                                           :
HELEN ROSENTHAL, a surviving               :
Sibling of Josh Rosenthal, Deceased        :
                                           :
AUDREY MODEL as Personal                   :
Representative of the ESTATE OF            :
FLORENCE ROSENTHAL,                        :
DECEASED, a surviving Parent of            :
Richard D. Rosenthal, Deceased             :
                                           :
AUDREY MODEL, as Personal                  :
Representative of the ESTATE OF            :
LEONARD ROSENTHAL, DECEASED, :
a surviving Parent of                      :
Richard D. Rosenthal, Deceased             :
                                           :
AUDREY MODEL, Individually, as a           :
surviving Sibling of                       :
Richard D. Rosenthal, Deceased             :
                                           :
LOREN ROSENTHAL as the Personal            :
Representative of the ESTATE OF EVAN :
ROSENTHAL, Deceased, a surviving           :
Child of Richard D. Rosenthal, Deceased :
                                           :
LOREN ROSENTHAL as Personal                :
Representative of the ESTATE OF            :
RICHARD D. ROSENTHAL,                      :
DECEASED                                   :
                                           :                                   :
LOREN ROSENTHAL, as the Personal :
Representative of the ESTATE OF SETH :
ROSENTHAL, DECEASED, a surviving :
Child of Richard D. Rosenthal, Deceased :
                                               2
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                                            :
LOREN ROSENTHAL, Individually,              :
as the surviving Spouse of                  :
Ricard D. Rosenthal, Deceased               :
                                            :
ALEXANDER ROWE, a surviving Parent :
of Nicholas Rowe, Deceased                  :
                                            :
RAYMOND SANTILLAN, a surviving              :
Sibling of Maria Theresa Santillan,         :
Deceased                                    :
                                            :
VICTOR SANTILLAN as Personal                :
Representative of the ESTATE OF             :
ESTER SANTILLAN, DECEASED,                  :
a surviving Parent of                       :
Maria Theresa Santillan, Deceased           :
                                            :
VICTOR SANTILLAN as Personal                :
Representative of the ESTATE OF             :
EXPEDITO C. SANTILLAN, a surviving :
Parent of Maria Theresa Santillan, Deceased :
                                            :
VICTOR SANTILLAN as Personal                :
Representative of the ESTATE OF             :
MARIA THERESA SANTILLAN,                    :
DECEASED                                    :
                                            :
VICTOR SANTILLAN, Individually,             :
a surviving Sibling of Maria Theresa        :
Santillan, Deceased                         :
                                            :
LORI BRODY, a surviving Sibling of          :
Scott Schertzer, Deceased                   :
                                            :
ELLEN SCHERTZER, a surviving Parent :
of Scott Schertzer, Deceased                :
                                            :
PAUL SCHERTZER as Personal                  :
Representative of the ESTATE OF             :
SCOTT SCHERTZER, DECEASED                   :
                                            :
PAUL SCHERTZER, Individually, as a :
surviving Parent of Scott Schertzer,        :
Deceased                                    :
                                            :
SARAH FUNK, a surviving Sibling of          :
                                                3
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Paul K. Sloan, Deceased                     :
                                            :
MATT SLOAN, a surviving Sibling of          :
Paul K. Sloan, Deceased                     :
                                            :
PATRICIA SLOAN, a surviving Parent of :
Paul K. Sloan, Deceased                     :
                                            :
RONALD S. SLOAN as Personal                 :
Representative of the ESTATE OF PAUL :
K. SLOAN, DECEASED                          :
                                            :
RONALD S. SLOAN, Individually, as a :
surviving Parent of Paul K. Sloan, Deceased :
                                            :
CHRISTINE JACKSON, a surviving              :
Sibling of George Eric Smith, Deceased      :
                                            :
BARBARA HARGROVE, a surviving               :
Sibling of George Eric Smith, Deceased      :
                                            :
CARL SMITH, a surviving Sibling of          :
George Eric Smith, Deceased                 :
                                            :
KEVIN SMITH, a surviving Sibling of         :
George Eric Smith, Deceased                 :
                                            :
KORRY SMITH, a surviving Sibling of :
George Eric Smith, Deceased                 :
                                            :
LATRICIA SMITH, a surviving Sibling :
of George Eric Smith, Deceased              :
                                            :
RAYMOND SMITH, JR. as Personal              :
Representative of the ESTATE OF             :
GEORGE ERIC SMITH, DECEASED :
                                            :
RAYMOND SMITH, JR., Individually            :
as a surviving Sibling of                   :
George Eric Smith, Deceased                 :
                                            :
RAYMOND A. SMITH, as Personal               :
Representative of the ESTATE OF             :
DEBORAH SALLAD, DECEASED, a                 :
surviving Sibling of George Eric Smith,     :
Deceased                                    :
                                            :
                                                4
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RAYMOND A. SMITH, as Personal              :
Representative of the ESTATE OF            :
MARION THOMAS, DECEASED, a                 :
surviving Grandparent of                   :
George Eric Smith, Deceased                :
                                           :
RAYMOND A. SMITH, Individually, as :
a surviving Parent of George Eric Smith,   :
Deceased                                   :
                                           :
ELANIA SMITH-WYLE, a surviving             :
Sibling of George Eric Smith, Deceased     :
                                           :
TANYA WARREN, a surviving sibling          :
of George Eric Smith, Deceased             :
                                           :
MICHELLE DONLAN, a surviving               :
Sibling of Timothy P. Soulas, Deceased     :
                                           :
ANDREW J. SOULAS, a surviving Child :
of Timothy P. Soulas, Deceased             :
                                           :
CHRISTOPHER SOULAS, a surviving :
Child of Timothy P. Soulas, Deceased       :
                                           :
DANIEL D. SOULAS, a surviving Sibling :
of Timothy P. Soulas, Deceased             :
                                           :
DANIEL SOULAS, a surviving Child of :
Timothy P. Soulas, Deceased                :
                                           :
FREDERICK SOULAS, a surviving              :
Parent of Timothy P. Soulas, Deceased      :
                                           :
FREDERICK SOULAS, III, a surviving :
Sibling of Timothy P. Soulas, Deceased     :
                                           :
KATHERINE SOULAS as Personal               :
Representative of the ESTATE OF            :
TIMOTHY P. SOULAS, DECEASED                :
                                           :
KATHERINE SOULAS, Individually, as :
the surviving Spouse of Timothy P. Soulas, :
Deceased                                   :
                                           :
MATTHEW SOULAS, a surviving Child :
of Timothy P. Soulas, Deceased             :
                                               5
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                                            :
NICOLE SOULAS, a surviving Child            :
of Timothy P. Soulas, Deceased              :
                                            :
STEPHEN SOULAS, a surviving Sibling :
of Timothy P. Soulas, Deceased              :
                                            :
TIMOTHY P. SOULAS, JR., a surviving :
Child of Timothy P. Soulas, Deceased        :
                                            :
AARON STRAUB, a surviving Child of :
Edward W, Straub, Deceased                  :
                                            :
EDWARD STRAUB, a surviving Parent of :
Edward W. Straub, Deceased                  :
                                            :
JONATHAN STRAUB, a surviving Child :
of Edward W. Straub, Deceased               :
                                            :
MATTHEW STRAUB, a surviving Sibling :
of Edward W. Straub, Deceased               :
                                            :
MICHAEL STRAUB, a surviving Child of :
Edward W. Straub, Deceased                  :
                                            :
STANLEY STRAUB, a surviving Sibling :
of Edward W. Straub, Deceased               :
                                            :
PAMELA SCHIELE, a surviving Sibling :
of Jennifer Tino, Deceased                  :
                                            :
JEFFREY TINO, a surviving Sibling of        :
Jennifer Tino, Deceased                     :
                                            :
JOAN E. TINO as Personal Representative :
of the ESTATE OF JENNIFER TINO,             :
DECEASED                                    :
                                            :
JOAN E. TINO, Individually, as a            :
Surviving Parent of Jennifer Tino, Deceased :
                                            :
SALVATORE TINO, JR., a surviving            :
Parent of Jennifer Tino, Deceased           :
                                            :
SALVATORE TINO, III, a surviving            :
Sibling of Jennifer Tino, Deceased          :
                                            :
                                                6
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CHRISTINE BARTON as Personal              :
Representative of the ESTATE OF           :
JEANMARIE WALLENDORF,                     :
DECEASED                                  :
                                          :
CHRISTINE BARTON, Individually, as a :
surviving Parent of Jeanmarie Wallendorf, :
Deceased                                  :
                                          :
CHRISTOPHER BARTON, a surviving :
Sibling of Jeanmarie Wallendorf, Deceased :
                                          :
JOHN BARTON, a surviving Sibling of       :
Jeanmarie Wallendorf, Deceased            :
                                          :
MELLANIE CHAFE, a surviving Sibling :
of Jeanmarie Wallendorf, Deceased         :
                                          :
JOSEPH NICKLO, a surviving Sibling of :
Jeanmarie Wallendorf, Deceased            :
                                          :
STEPHEN BRADISH, a surviving Sibling :
of Sandra Wright-Cartledge, Deceased      :
                                          :
DIAN DEMBINSKI as Personal                :
Representative of the ESTATE OF           :
SANDRA WRIGHT-CARTLEDGE,                  :
DECEASED                                  :
                                          :
DIAN DEMBINSKI, Individually, as a        :
surviving Sibling of Sandra               :
Wright-Cartledge, Deceased                :
                                          :
LYNNE DUNN, ESQUIRE as Personal           :
Representative of the ESTATE OF JOHN :
“JACK” BRADISH, DECEASED, a               :
surviving Sibling of Sandra               :
Wright-Cartledge, Deceased                :
                                          :
LORETTA HAINES, a surviving Sibling :
of Sandra Wright-Cartledge, Deceased      :
                                          :
PATRICIA MASON, a surviving Sibling :
of Sandra Wright-Cartledge, Deceased      :
                                          :
GERALDINE DEBORAH SPAETER, a :
surviving Sibling of                      :
                                              7
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Sandra Wright-Cartledge, Deceased     :
                                      :
ETHAN ZEPLIN, a surviving Child of    :
Marc Scott Zeplin, Deceased           :
                                      :
RYAN ZEPLIN, a surviving Child of     :
Marc Scott Zeplin, Deceased           :
                                      :
DEBRA ZEPLIN, as Personal             :
Representative of the ESTATE OF MARC :
SCOTT ZEPLIN, DECEASED                :
                                      :
DEBRA ZEPLIN, as the surviving spouse :
of Marc Scott Zeplin, Deceased        :
                                      :
                      PLAINTIFFS,     :
                                      :
              v.                      :
                                      :
REPUBLIC OF THE SUDAN                 :
                                      :
                      DEFENDANT.      :
____________________________________:

       The Perry Plaintiffs named herein by and through the undersigned counsel file this Short

Form Complaint against Defendant, the Republic of the Sudan, arising out of the September 11,

2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved by the

Court’s Order of December 1, 2020, ECF No. 6547. Each Plaintiff incorporates by reference the

specific allegations, as indicated below, of (a) the Consolidated Amended Complaint as to the

Republic of the Sudan (“SCAC”), ECF No. 6539, or (b) the Ashton Amended Complaint as to

Sudan Defendants in Ashton v. the Republic of the Sudan, No. 02-CV- 6977 (GBD)(SN), ECF No.

6537 (in 03-md-1570) (hereinafter “Ashton Sudan Amended Complaint”).

       Upon filing this Sudan Short Form Complaint, each Plaintiff is deemed to have adopted all

factual and jurisdictional allegations of the complaint that has been joined as specified below; all

prior filings in connection with that complaint; and all prior Orders and rulings of the Court in

connection with that complaint.
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                                               VENUE

        1.       Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1),

as a substantial part of the events giving rise to the claims asserted herein occurred in this district.

Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                          JURISDICTION

        2.       Jurisdiction is premised on the grounds set forth in the complaints specified below,

and further, jurisdiction of this Sudan Short Form Complaint is premised upon and applicable to

all defendants in this action:

        X        28 U.S.C. § 1605(a)(5) (non-commercial tort exception)

        X        28 U.S.C. § 1605B (Justice Against Sponsors of Terrorism Act)

        X        28 U.S.C. § 1330 (actions against foreign states)

        X       Other (set forth below the basis of any additional ground for jurisdiction and
plead such in sufficient detail as per the FRCP): Section 1706 (c)(1) of H.R. 133: Consolidated
Appropriations Act, 2021 [Including Coronavirus Stimulus & Relief], Pub. L. No. 116-260, H.R.
133, 116th Cong. (2020), which preserves this Court’s jurisdiction over claims pending against
Sudan in this MDL, including claims of a plaintiff who is a member of a class certified under Rule
23 of the Federal Rules of Civil Procedure or a putative member of such a class pending
certification. Section 1706(c)(1) preserves this Court’s jurisdiction over Plaintiffs’ claims in this
Short Form Complaint because each Plaintiff had claims pending at the time the statute was
enacted.

                                      CAUSES OF ACTION

        3.       Each Plaintiff hereby adopts and incorporates herein by reference the following

factual allegations, jurisdictional allegations, and jury trial demand in the following complaint

[check only one complaint] and the following causes of action set forth in that complaint:

             X   Consolidated Amended Complaint as to the Republic of the Sudan
                 (“SCAC”), ECF No. 6539 (check all causes of action that apply):
                   X
                   ☐      COUNT I – Claims under Section 1605A(c) of the Foreign Sovereign
                          Immunities Act, 28 U.S.C. § 1605A(c), on behalf of all Plaintiffs


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                                       granted a private right of action under 28 U.S.C. § 1605A. 1

                              ☐
                              X        COUNT II – Claims under Section 1605A(d) of the Foreign Sovereign
                                       Immunities Act, 28 U.S.C. § 1605A(d), on behalf of all Plaintiffs
                                       granted a private right of action under 28 U.S.C. § 1605A. 2

                              ☐
                              X        COUNT III – Aiding and Abetting and Conspiring with Al Qaeda to
                                       commit the September 11th Attacks upon the United States in Violation
                                       of 18 U.S.C. § 2333(d) (JASTA), on behalf of all “U.S. National”
                                       Plaintiffs. 3

                              ☐
                              X        COUNT IV – Aiding and Abetting and Conspiring with Al Qaeda to
                                       commit the September 11th Attacks upon the United States in Violation
                                       of 18 U.S.C. § 2333(a), on behalf of all “U.S. National” Plaintiffs.

                              ☐
                              X        COUNT V – Committing acts of international terrorism in violation of
                                       18 U.S.C. § 2333, on behalf of all “U.S. National” Plaintiffs.

                              ☐
                              X        COUNT VI – Wrongful Death, on behalf of all Plaintiffs bringing
                                       Wrongful Death claims.

                              ☐
                              X        COUNT VII – Negligence, on behalf of all Plaintiffs.

                              ☐
                              X        COUNT VIII – Survival, on behalf of all Plaintiffs bringing wrongful
                                       death claims.

                              ☐
                              X        COUNT IX – Alien Tort Claims Act, on behalf of all Alien National
                                       Plaintiffs. 4

1
  Section 1605A of the Foreign Sovereign Immunities Act grants a right of action to (1) nationals of the United States, (2)
members of the armed forces, (3) employees of the U.S. government (including individuals performing a contract awarded by
the U.S. Government) acting within the scope of employment, and legal representatives of persons described in (1), (2), or
(3).
2
  See preceding footnote.
3
  The causes of action pursuant to the ATA, 18 U.S.C. § 2331 et seq., are asserted on behalf of plaintiffs who are
U.S. nationals; estates, heirs, and survivors of U.S. nationals; U.S. nationals who are members of a putative class represented
by such plaintiffs; plaintiffs who are subrogated to the rights of U.S. nationals who incurred physical injuries to property and
related losses as a result of the September 11th attacks; and plaintiffs who are assignees of
U.S. nationals killed or injured in the September 11th attacks. The term “U.S. National Plaintiffs” in the context claims under
JASTA or the ATA refers to all such parties.
4
  The causes of action pursuant to the Alien Tort Claims Act (“ATCA”), 28 U.S.C. § 1350, are asserted on behalf of
plaintiffs who are alien nationals; estates, heirs, and survivors of alien nationals who are not themselves U.S. nationals; alien
nationals who are members of a putative class represented by such plaintiffs; subrogated to the rights of alien nationals who
incurred injuries to property and related losses as a result of the September 11th attacks; and assignees of alien nationals
killed or injured in the September 11th attacks.


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          ☐ Ashton Sudan Amended Complaint, ECF No. 6537 (check all causes of action
            that apply):

                ☐       First Cause of Action to Recover Personal Injury and Wrongful Death
                        Damages Pursuant to Section 1605A of the Foreign Sovereign
                        Immunities Act, 28 U.S.C. § 1605A.

                ☐       Second Cause of Action to Recover Personal Injury and Wrongful
                        Death Damages Pursuant to Section 1605B of the Foreign Sovereign
                        Immunities Act, 28 U.S.C. § 1605B (JASTA) and the Anti-Terrorism
                        Acts.

                ☐       Third Cause of Action for Personal Injury and Wrongful Death Injuries
                        Pursuant to State Tort Law.

                ☐       Fourth Cause of Action for Personal Injury and Wrongful Death
                        Damages Pursuant to the Alien Tort Claims Act.
                ☐       Fifth Cause of Action for Punitive Damages.

                ☐       Sixth Cause of Action for Property Damage.


       ☐        Each Plaintiff asserts the following additional theories and/or Causes of
                Action against the Republic of the Sudan:


                                                                                                   .


                           IDENTIFICATION OF PLAINTIFFS

     4.       The following allegations and information are alleged on behalf of each individual

who is bringing this claim, as indicated on Appendix 1 to this Sudan Short Form Complaint,

herein referred to as “Plaintiffs.”

                a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to
                   this Sudan Short Form Complaint.

                b. Plaintiff is entitled to recover damages on the causes of action set forth in
                   this Sudan Short Form Complaint.

                c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
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                     someone who was killed as a result of the September 11, 2001 Terrorist
                     Attacks; (ii) is the surviving immediate family member of someone who
                     was killed as a result of the September 11, 2001 Terrorist Attacks; and/or
                     (iii) suffered physical injuries as a result of the September 11, 2001
                     Terrorist Attacks.

                 d. For those plaintiffs with personal injury claims, as indicated in Appendix 1,
                    on or after September 11, 2001, said Plaintiff was present at the Pentagon
                    and/or the World Trade Center site and/or its surroundings and/or lower
                    Manhattan and/or at an area wherein he/she was exposed to toxins as a
                    result of the terrorist attacks and was exposed to toxins from the attacks,
                    and/or was otherwise injured, and/or as otherwise alleged, as stated
                    specifically in Appendix 1.

                 e. For those plaintiffs with personal injury and/or wrongful death claims, as
                    indicated in Appendix 1, as a direct, proximate and foreseeable result of
                    Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                    bodily injury and/or death, and consequently economic and other losses,
                    including but not limited to pain and suffering, emotional distress,
                    psychological injuries, and loss of enjoyment of life, and/or as described in
                    the Sudan Short Form Complaint, and/or as otherwise may be specified in
                    subsequent discovery proceedings, and/or as otherwise alleged in Appendix
                    1.

                f. The name, relationship to the injured and/or deceased September 11 victim,
                   residency, citizenship/nationality, and the general nature of the claim for
                   each Plaintiff asserting wrongful death and/or solatium claims is listed on the
                   attached Appendix 1, and is incorporated herein as allegations, with all
                   allegations of the related complaints, as specified above, deemed alleged as
                   to each Plaintiff.

                         IDENTIFICATION OF DEFENDANT

       5.       The only Defendant named in this Sudan Short Form Complaint is the

Republic of the Sudan.

                          NO WAIVER OF OTHER CLAIMS

       6.      By filing this Sudan Short Form Complaint, Plaintiff(s) is/are not waiving

any right to file suit against any other potential defendants or parties.

       7.      By filing this Sudan Short Form Complaint, Plaintiff(s) are not opting out

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of any class that the Court may certify in the future.

                                 JURY DEMAND
       8.      Each Plaintiff hereby demands a trial by jury as to the claims in this action.

       WHEREFORE, the Perry Plaintiffs pray for relief and judgment against Defendant as set

forth in this Sudan Short Form Complaint as appropriate.

                                               Respectfully Submitted,

Date: August 21, 2023                          /s/ Timothy B. Fleming
                                               Timothy B. Fleming (DC Bar No. 351114)
                                               WIGGINS CHILDS PANTAZIS
                                               FISHER GOLDFARB, PLLC
                                               2202 18th Street, N.W., #110
                                               Washington, DC 20009-1813
                                               (202) 467-4489

                                               Dennis G. Pantazis (AL Bar No. ASB-2216-A59D)
                                               WIGGINS CHILDS PANTAZIS
                                               FISHER GOLDFARB, LLC (Lead Counsel)
                                               The Kress Building
                                               301 19th Street North
                                               Birmingham, AL 35203
                                               (205) 314-0500

                                               Richard D. Hailey (IN Bar No. 7375-49)
                                               Mary Beth Ramey (IN Bar No. 5876-49)
                                               RAMEY & HAILEY
                                               3905 Founders Road
                                               Indianapolis, IN 46268
                                               (317) 582-0000

                                               Robert M. Foote (IL Bar No. 03124325)
                                               Craig S. Meilke (IL Bar No. 03127485)
                                               FOOTE, MIELKE, CHAVEZ & O’NEIL, LLC
                                               10 West State Street, Suite 200
                                               Geneva, IL 60134
                                               (630) 232-7450

                                               Attorneys for the Perry Plaintiffs




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                 APPENDIX 1 TO THE PERRY SUDAN SHORT FORM COMPLAINT

      Each line below is deemed an allegation, incorporating the allegations, language, and references
      within the Sudan Short Form Complaint to which this Appendix is appended, and shall be
      referenced as Allegation 1 of Appendix 1 to the Perry Sudan Short Form Complaint, Allegation
      2 of Appendix 1 to the Perry Sudan Short Form Complaint, etc.

          Plaintiff          Plaintiff’s   Plaintiff’s   9/11            Plaintiff’s    9/11           Nature
                             State of      Citizenship   Decedent’s      Relationship   Decedent’s     of
                             Residency     on 9/11/01    Full Name       to 9/11        Citizenship/   Claim
                             at Filing                                   Decedent       Nationality
                             (or                                                        on 9/11/01
                             Death)
1.        Perry, Joel R.,    NY; NY        US            Perry,          Parent         US             Solatium
          as Personal                                    John
          Representative                                 William
          of the Estate of
          James Leslie
          Perry,
          Deceased
2.        Rogers,            MI            US            Ratchford,      Sibling        US             Solatium
          Amanda                                         Marsha
3.        Stallworth,        AL            US            Ratchford,      Sibling        US             Solatium
          Carl                                           Marsha
4.        Stallworth,        AL            US            Ratchford,      Sibling        US             Solatium
          Christian B.                                   Marsha
          f/k/a Brian
          Christian
5.        Stallworth,        AL            US            Ratchford,      Sibling        US             Solatium
          Roosevelt                                      Marsha
6.        Reiss, Adam        PA            US            Reiss,          Sibling        US             Solatium
                                                         Joshua
                                                         Scott
7.        Reiss, Gary        PA            US            Reiss,          Parent         US             Solatium
                                                         Joshua
                                                         Scott
8.        Reiss,             PA            US            Reiss,          Sibling        US             Solatium
          Jennifer                                       Joshua
                                                         Scott
9.        Reiss,             PA            US            Reiss,          Sibling        US             Solatium
          Jonathan                                       Joshua
                                                         Scott
10.       Reiss,             PA            US            Reiss,          Sibling        US             Solatium
          Jordan                                         Joshua
                                                         Scott
11.       Rodak,             NJ            US            Rodak, John     Child          US             Solatium
          Chelsea                                        M.
          Nicole
12.       Rodak, Devon       NJ            US            Rodak, John     Child          US             Solatium
          Marie                                          M.
                                                         14
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13.   Diaz, Diana, as    NY; NY   US       Romero, Elvin Parent          US         Solatium
      Personal
      Representative
      of the Estate of
      Carmen
      Romero,
      Deceased
14.   Diaz, Diana, as    NY; NY   US       Romero, Elvin Parent          US         Solatium
      Personal
      Representative
      of the Estate of
      Isaac Romero,
      Deceased
15.   Diaz, Diana,       NY       US       Romero, Elvin Sibling         US         Solatium
      Individually
16.   Rosenthal,         NY       US       Rosenthal,      Sibling       US         Solatium
      Helen                                Joshua
17.   Model,             NJ; NJ   US       Rosenthal,      Parent        US         Solatium
      Audrey, as                           Richard D.
      Personal
      Representative
      of the Estate of
      Florence
      Rosenthal,
      Deceased
18.   Model,             NJ; NJ   US       Rosenthal,      Parent        US         Solatium
      Audrey, as                           Richard D.
      Personal
      Representative
      of the Estate of
      Leonard
      Rosenthal,
      Deceased
19.   Model,             NJ       US       Rosenthal,      Sibling       US         Solatium
      Audrey,                              Richard D.
      Individually
20.   Rosenthal,         NJ; NJ   US       Rosenthal,      Child         US         Solatium
      Loren as                             Richard D.
      Personal
      Representative
      of the Estate of
      Evan
      Rosenthal,
      Deceased
21.   Rosenthal,         NJ; NJ   US       Rosenthal,      PR            US              WD
      Loren as                             Richard D.
      Personal
      Representative
      of the Estate of
      Richard

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      Rosenthal,
      Deceased
22.   Rosenthal,         NJ; NJ   US        Rosenthal,      Child         US         Solatium
      Loren as                              Richard D.
      Personal
      Representative
      of the Estate of
      Seth Rosenthal,
      Deceased
23.   Rosenthal,         NJ       US        Rosenthal,      PR            US         Solatium
      Lauren,                               Richard D.
      Individually
24.   Rowe,              RSA      US, RSA   Rowe,         Parent          RSA        Solatium
      Alexander                             Nicholas
25.   Santillan,         NJ       US        Santillan,    Sibling         US         Solatium
      Raymond                               Maria Theresa
26.   Santillan,         NJ; NJ   US        Santillan,    Parent          US         Solatium
      Victor as                             Maria Theresa
      Personal
      Representative
      of the Estate of
      Ester Santillan,
      Deceased
27.   Santillan,         NJ; NJ   US        Santillan,    Parent          US         Solatium
      Victor as                             Maria Theresa
      Personal
      Representative
      of the Estate of
      Expedito C.
      Santillan,
      Deceased
28.   Santillan,         NJ; NJ   US        Santillan,    PR              US              WD
      Victor as                             Maria Theresa
      Personal
      Representative
      of the Estate of
      Maria Theresa
      Santillian
29.   Santillan,         NJ       US        Santillan,    Sibling         US         Solatium
      Victor,                               Maria Theresa
      Individually
30.   Brody, Lori        CA       US        Schertzer,      Sibling       US         Solatium
                                            Scott
31.   Scherzer, Ellen    NJ       US        Schertzer,      Parent        US         Solatium
                                            Scott
32.   Schertzer, Paul    NJ; NJ   US        Schertzer,      PR            US              WD
      as Personal                           Scott
      Representative
      of the Estate of
      Scott

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      Schertzer,
      Deceased
33.   Schertzer,         NJ     US       Schertzer,      Parent        US         Solatium
      Paul,                              Scott
      Individually
34.   Funk, Sarah        CT     US       Solan, Paul K. Sibling        US         Solatium

35.   Sloan, Matt        CA     US       Solan, Paul K. Sibling        US         Solatium

36.   Sloan, Patricia    CA     US       Solan, Paul    Parent         US         Solatium
                                         K.
37.   Sloan, Ronald      CA     US       Solan, Paul K. PR             US              WD
      S., as Personal
      Representative
      of the Estate of
      Paul K. Sloan,
      Deceased
38.   Sloan, Ronald      CA     US       Solan, Paul K. Parent         US         Solatium
      S.,
      Individually
39.   Jackson,           PA     US       Smith, George Sibling         US         Solatium
      Christine                          Eric
40.   Hargrove,          VA     US       Smith,        Sibling         US         Solatium
      Barbara                            George Eric
41.   Smith, Carl        PA     US       Smith, George Sibling         US         Solatium
                                         Eric
42.   Smith, Kevin       NY     US       Smith,        Sibling         US         Solatium
                                         George Eric
43.   Smith, Korry       NY     US       Smith, George Sibling         US         Solatium
                                         Eric
44.   Smith, Latricia    NY     US       Smith,        Sibling         US         Solatium
                                         George Eric
45.   Smith,           PA       US       Smith, George PR              US              WD
      Raymond, Jr.,                      Eric
      as Personal
      Representative
      of the Estate of
      George Eric
      Smith, Deceased
46.   Smith,           PA       US       Smith, George Sibling         US         Solatium
      Raymond, Jr.,                      Eric
      Individually
47.   Smith,           NY; PA   US       Smith, George Sibling         US         Solatium
      Raymond, A.                        Eric
      as Personal
      Representative
      of the Estate of
      Deborah
      Sallad,
      Deceased

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48.   Smith,             NY; PA   US       Smith, George Grandparent US             Solatium
      Raymond A. as                        Eric          (Functional
      Personal                                           Equivalent of
      Representative                                     a Parent)
      of the Estate of
      Marion
      Thomas,
      Deceased
49.   Smith,             NY       US       Smith, George Parent          US         Solatium
      Raymond A.,                          Eric
      Individually
50.   Smith-Wyle,        PA       US       Smith, George Sibling         US         Solatium
      Elania                               Eric


51.   Warren,            NY       US       Smith,          Sibling       US         Solatium
      Tanya                                George Eric
52.   Donlan,            PA       US       Soulas,         Sibling       US         Solatium
      Michelle                             Timothy P.
53.   Soulas,            NJ       US       Soulas,         Child         US         Solatium
      Andrew J.                            Timothy P.
54.   Soulas,            NJ       US       Soulas,         Child         US         Solatium
      Christopher                          Timothy P.
55.   Soulas, Daniel     PA       US       Soulas,         Sibling       US         Solatium
      D.                                   Timothy P.
56.   Soulas, Daniel     NJ       US       Soulas,         Child         US         Solatium
                                           Timothy P.
57.   Soulas,            NJ       US       Soulas,         Parent        US         Solatium
      Frederick                            Timothy P.
58.   Soulas,            NJ       US       Soulas,         Sibling       US         Solatium
      Frederick, III                       Timothy P.
59.   Soulas,            NJ; NJ   US       Soulas,         PR            US              WD
      Katherine as                         Timothy P.
      Personal
      Representative
      of the Estate of
      Timothy P.
      Soulas,
      Deceased
60.   Soulas,            NJ       US       Soulas,         Spouse        US         Solatium
      Katherine,                           Timothy P.
      Individually
61.   Soulas, Nicole     NJ       US       Soulas,         Child         US         Solatium
                                           Timothy P.
62.   Soulas,            NJ       US       Soulas,         Child         US         Solatium
      Matthew                              Timothy P.
63.   Soulas,            PA       US       Soulas,         Sibling       US         Solatium
      Stephen                              Timothy P.
64.   Straub, Aaron      FL       US       Straub,         Child         US         Solatium
                                           Edward W.

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65.   Straub, Edward     FL       US       Straub,          Parent        US         Solatium
                                           Edward W.
66.   Straub, Jonathan UT         US       Straub,          Child         US         Solatium
                                           Edward W.
67.   Straub, Matthew MA          US       Straub,          Sibling       US         Solatium
                                           Edward W.
68.   Straub, Michael UT          US       Straub,          Child         US         Solatium
                                           Edward W.
69.   Straub, Stanley    MA       US       Straub,          Sibling       US         Solatium
                                           Edward W.
70.   Schiele, Pamela NJ          US       Tino, Jennifer   Sibling       US         Solatium

71.   Tino, Jeffrey      NJ       US       Tino, Jennifer Sibling         US         Solatium

72.   Tino, Joan, E.     NJ; NJ   US       Tino, Jennifer PR              US              WD
      as Personal
      Representative
      of Jennifer
      Tino,
      Deceased
73.   Tino, Joan, E.,    NJ       US       Tino, Jennifer Parent          US         Solatium
      Individually
74.   Tino,              NJ       US       Tino,          Parent          US         Solatium
      Salvatore, Jr.                       Jennifer
75.   Tino, Salvatore,   NJ       US       Tino, Jennifer Sibling         US         Solatium
      III
76.   Barton,            FL; NY   US       Wallendorf,      PR            US              WD
      Christine as                         Jeanmarie
      Personal
      Representative
      of the Estate of
      Jeanmarie
      Wallendorf,
      Deceased
77.   Barton,            FL       US       Wallendorf,      Parent        US         Solatium
      Christine,                           Jeanmarie
      Individually
78.   Barton,            FL       US       Wallendorf,      Sibling       US         Solatium
      Christopher                          Jeanmarie
79.   Barton, John       FL       US       Wallendorf,      Sibling       US         Solatium
                                           Jeanmarie
80.   Chafe, Mellanie FL          US       Wallendorf,      Sibling       US         Solatium
                                           Jeanmarie
81.   Nicklo, Joseph     FL       US       Wallendorf,      Sibling       US         Solatium
                                           Jeanmarie
82.   Bradish,           PA       US       Wright-          Sibling       US         Solatium
      Stephen                              Cartledge,
                                           Sandra
83.   Dembinski,         PA; PA   US       Wright-          PR            US              WD
      Dian as                              Cartledge,

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      Personal                             Sandra
      Representative
      of Sandra
      Wright-
      Cartledge,
      Deceased
84.   Dembinski,         PA       US       Wright-         Sibling       US         Solatium
      Dian,                                Cartledge,
      Individually                         Sandra
85.   Dunn, Lynne,       NJ; NC   US       Wright-         Sibling       US         Solatium
      Esq. as                              Cartledge,
      Personal                             Sandra
      Representative
      of the Estate of
      John “Jack”
      Bradish,
      Deceased
86.   Haines, Loretta    PA       US       Wright-         Sibling       US         Solatium
                                           Cartledge,
                                           Sandra
87.   Mason, Patricia    NJ       US       Wright-         Sibling       US         Solatium
                                           Cartledge,
                                           Sandra
88.   Spaeter,           PA       US       Wright-         Sibling       US         Solatium
      Geraldine                            Cartledge,
      Deborah                              Sandra
89.   Zeplin,            NY       US       Zeplin,         Child         US         Solatium
      Ethan                                Marc
                                           Scott
90.   Zeplin,            NY       US       Zeplin,         Child         US         Solatium
      Ryan                                 Marc
                                           Scott
91.   Zeplin, Debra,     NY; NY   US       Zeplin,         PR            US              WD
      as Personal                          Marc
      Representative                       Scott
      of the Estate of
      Marc Scott
      Zeplin,
      Deceased
92.   Zeplin, Debra,     NY       US       Zeplin,         Spouse        US         Solatium
      Individually                         Marc
                                           Scott




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